
PER CURIAM.
The appellant challenges the trial court’s order summarily denying his rule 3.800 *556motion for jail credit. The appellant has made a facially sufficient claim for jail credit under rule 3.800 by providing the dates for which he is seeking credit, the date of his sentence, and alleging that the jail certificate would show that he is entitled to credit. See Thomas v. State, 634 So.2d 175, 177 (Fla. 1st DCA 1994); State v. Mancino, 714 So.2d 429, 433 (Fla.1998). The trial court failed to reference or attach any records refuting the appellant’s allegations. We accordingly reverse and remand for the trial court to support its denial with record attachments or to grant the relief sought.
REVERSED and REMANDED.
BOOTH, BENTON and POLSTON, JJ., concur.
